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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


KEISHA MULFORT,

      Plaintiff,
                                            Case No: 6:24-cv-1118-JSS-EJK
v.

STATE OF FLORIDA - OFFICE
OF THE STATE ATTORNEY FOR
THE NINTH JUDICIAL CIRCUIT
and ANDREW A. BAIN,

      Defendants.
________________________________/

                    DEFENDANTS’ INITIAL DISCLOSURES

      Defendants, STATE OF FLORIDA OFFICE OF THE STATE ATTORNEY

FOR THE NINTH JUDICIAL CIRCUIT and ANDREW A. BAIN (collectively,

“Defendants”), through undersigned counsel make the following disclosures to

Plaintiff KEISHA MULFORT’s (“Plaintiff”) pursuant to Fed.R.Civ.P. 26(a)(1)

based on the information and documents reasonably available to them at this time.

Defendants reserve all rights to amend and supplement these disclosures pursuant to

Fed. R. Civ. P. 26(e).

      (i) The following persons are likely to have discoverable information that
      support Defendants’ defenses and that Defendants may use to support their
      defenses. Current or former employees of the Office of the State Attorney for
      the Ninth District whose addresses and phone numbers are protected from
      disclosure may be reached through the Office of the Attorney General, c/o
      Christopher Hunt at: PL-01, The Capitol, Tallahassee FL 32399):
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        • Defendant Andrew Bain: Information regarding employment decisions
          made upon his appointment as State Attorney for the Ninth Judicial
          Circuit upon the suspension of State Attorney Monique Worrell on
          August 9, 2023, specifically the termination of Plaintiff’s employment
          as Chief of Staff and Director of Public Affairs for the State Attorney’s
          Office.

        • Chief Assistant State Attorney Ryan Williams: Information regarding
          employment decisions made upon appointment of Andrew Bain as
          State Attorney for the Ninth Judicial Circuit upon the suspension of
          State Attorney Monique Worrell on August 9, 2023, specifically the
          termination of Plaintiff’s employment as Chief of Staff and Director of
          Public Affairs for the State Attorney’s Office.

        • Human Resources Director Tamra Crane: Communication with
          Plaintiff regarding available leave, periods of leave time, request for
          additional leave, Plaintiff’s communications regarding medical
          condition after beginning of leave, general termination procedure for
          Plaintiff and four other employees on August 9, 2023.


     (ii) Copies of documents being sent with these disclosures or already provided

     include:

        • Termination notices to Plaintiff, Sara Dyehouse, Shana Manuel,
          Ginger Miranda, and Alfredo Zamora served on of August 9 and 10,
          2023.


     (iii) Defendants are not claiming damages, and therefore have no documents
     or other evidentiary material to disclose regarding any categories of damages.



     (iv) No insurance business may be liable to satisfy all or part of a possible
     judgment in the action or to indemnify or reimburse for payments made to
     satisfy the judgment.


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                              Respectfully submitted,

                              ASHLEY MOODY
                              ATTORNEY GENERAL

                              /s/ Christopher Hunt______
                              Christopher Hunt
                              Assistant Attorney General
                              Florida Bar No.: 0832601
                              Office of the Attorney General
                              The Capitol, PL-01
                              Tallahassee, Florida 32399-1050
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                              Attorneys for Defendant

                              /s/ Robert E. Gregg_______
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                        CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the foregoing was
filed with the Court’s CM/ECF system, and thereby was served upon Plaintiff’s
Counsel via email on October 4, 2024.


                              s/Christopher Hunt
                              Attorney
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